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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 UNITED STATES OF AMERICA,


 v.                                                     Case No.: 8:04-CR-457-T-30EAJ

 ALEXIS ROLAN AYALA.
 ______________________________________/

                                               ORDER

        Before the court is Defendant’s Motion for Reconsideration (Dkt. 555). To the extent that

 Defendant seeks reconsideration of the undersigned’s order dated March 10, 2008, the motion is

 DENIED.

        Reconsideration of a previous order is an extraordinary remedy, one that is reserved for those

 instances where the facts or law are so strongly convincing as to induce the court to reverse its prior

 decision. Ludwig v. Liberty Mut. Fire Ins. Co., No. 03-CV-2378-T, 2005 WL 1053691, at *3 (M.D.

 Fla. Mar. 30, 2005) (citations omitted).        Courts have recognized three grounds justifying

 reconsideration: (1) an intervening change in controlling law; (2) the availability of new evidence;

 or (3) the need to correct clear error or manifest injustice. Florida College of Osteopathic Medicine,

 Inc. v. Dean Witter Reynolds, Inc., 12 F. Supp.2d 1306, 1308 (M.D. Fla. 1998) (citing Major v.

 Benton, 647 F.2d 110, 112 (10th Cir. 1981)). A motion for reconsideration does not provide an

 opportunity to simply reargue an issue the court has determined. Quitto v. Bay Colony Golf Club,

 Inc., No. 2:06-cv-286-FtM-29DNF, 2007 U.S. Dist. LEXIS 71559, at * 2 (M.D. Fla., Aug. 13,

 2007). Further, motions for reconsideration are not to be used “to raise arguments, which could and

 should have been made earlier.” Prudential Securities, Inc. v. Emerson, 919 F. Supp. 415, 417

 (M.D. Fla. 1996).
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        In the instant motion to reconsider, Defendant does not argue that there has been an

 intervening change in controlling law, present previously unavailable evidence, or show that

 reconsideration is necessary to correct a clear error or manifest injustice. Thus, the court concludes

 that Defendant has failed to meet the standard for reconsideration and the motion is denied to the

 extent that the undersigned is asked to reconsider her prior order.

                DONE and ORDERED in Tampa, Florida on this 13th day of May, 2008.




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